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                                                                          2023 Oct-02 AM 08:40
                                                                          U.S. DISTRICT COURT
                                                                              N.D. OF ALABAMA
                       UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION

BOBBY SINGLETON, et al.,                 )
                                         )
                                         )
     Plaintiffs,
                                         )
                                         )
v.                                           Case No.: 2:21-cv-1291-AMM
                                         )
                                         )
WES ALLEN, in his official capacity as        THREE-JUDGE COURT
                                         )
Alabama Secretary of State, et al.,
                                         )
                                         )
     Defendants.
                                         )


EVAN MILLIGAN, et al.,                   )
                                         )
                                         )
     Plaintiffs,
                                         )
                                         )
v.                                           Case No.: 2:21-cv-1530-AMM
                                         )
                                         )
WES ALLEN, in his official capacity as        THREE-JUDGE COURT
                                         )
Alabama Secretary of State, et al.,
                                         )
                                         )
     Defendants.
                                         )


MARCUS CASTER, et al.,                   )
                                         )
                                         )
     Plaintiffs,
                                         )
                                         )
v.                                           Case No.: 2:21-cv-1536-AMM
                                         )
                                         )
WES ALLEN, in his official capacity as
                                         )
Secretary of State of Alabama, et al.,
                                         )
                                         )
     Defendants.
                                         )

                            WRITTEN RESPONSE BY
                            THE SPECIAL MASTER
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     BEFORE THE SPECIAL MASTER:

I.          INTRODUCTION

            On September 25, 2023, the Special Master filed with the Court three proposed remedial

     plans for Alabama’s U.S. congressional map and a Report and Recommendation. (Doc. # 44-46). 1

     On September 28, 2023, eight groups of interested parties and non-parties submitted comments

     regarding the Special Master’s proposed remedial plans:

                  1. Non-party Quin Hillyer (Doc. # 48);
                  2. The Singleton Plaintiffs (Doc. # 49);
                  3. Defendant Secretary of State Wes Allen (Doc. # 50);
                  4. Defendants Rep. Chris Pringle and Sen. Steve Livingston (Doc. # 51);
                  5. Amicus Curiae the Brennan Center for Justice at New York University School of
                     Law (Doc. # 52);
                  6. The Milligan Plaintiffs (Doc. # 53);
                  7. Non-party the Alabama Democratic Conference (“ADC”); 2 and
                  8. The Caster Plaintiffs.3

            The Special Master has reviewed and carefully considered these comments, and again

     commends the parties and non-parties on the high quality and thoughtful analysis reflected in the

     comments, which were necessarily completed on an expedited basis. 4

            On September 29, 2023, the Court issued an Order directing the Special Master to file a

     written response to the following question by 10:00 a.m. CDT on October 2, 2023:

            In light of the comments of the Milligan and Caster Plaintiffs, as well as those of
            the Alabama Democratic Conference, does the Special Master’s Second Proposed

            1
                The Report and Recommendation was filed in all three of the above-captioned dockets
     as well as the miscellaneous docket in In re Redistricting 2023, 2:23-mc-01181-AMM (N.D. Ala.).
     For simplicity, this Written Response uses the citation to the filings in the miscellaneous docket,
     where available, and such filings are designated as “(Doc. # __).”
            2
              The ADC’s comments were not filed on the miscellaneous docket but instead were filed
     on the Milligan docket at (Doc. # 305). Milligan v. Allen, 2:21-cv-01530 [Dkt. No. 305].
            3
               The Caster Plaintiffs’ comments were not filed on the miscellaneous docket but instead
     were filed on the Caster docket at (Doc. # 248). Caster v. Allen, 2:21-cv-01536 [Dkt. No. 248].
            4
               Mr. Hillyer’s comments identify an error in the Report and Recommendation. Hillyer
     Comments ¶ 5. Page 40 of the Report and Recommendation incorrectly states that Mr. Hillyer’s
     plan splits 46 voting districts. Instead, this language should say that McCrary Plan A splits 46
     voting districts, not the Hillyer Plan.

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             Plan provide an opportunity for Black voters in CD2 to elect their preferred
             candidate? Put differently, does CD2 in the Second Proposed Plan fully remediate
             the vote dilution infirmity we identified in our 2022 and 2023 preliminary
             injunction orders?

             The Special Master files this Written Response to address the Court’s question. As

      explained below, each of the Special Master’s three proposed remedial plans includes two districts

      (Districts 2 and 7) in which the Black-preferred candidate often wins the election. Although the

      number of election contests in each district that the Black-preferred candidate would have won,

      and the average percentage margin of victory, varies among the three plans, each of the plans,

      including Remedial Plan 2, creates “an additional district in which Black voters have an

      opportunity to elect a representative of their choice.” SM Order at 7. Therefore, all three plans,

      including Remedial Plan 2, would remedy the likely Section Two violation previously identified

      by the Court.

II.          ANALYSIS

             The Court directed each proposed plan to “[c]ompletely remedy the likely Section [Two]

      violation identified in this Court’s order of September 5, 2023.” SM Order at 7. “To that end,

      each proposed map shall include either an additional majority-Black congressional district, or an

      additional district in which Black voters otherwise have an opportunity to elect a representative of

      their choice.” Id. (internal quotation marks and citations omitted).

             As the Court noted, performance analyses are commonly used to evaluate Section Two

      remedial plans. PI Order at 133. A performance analysis assesses whether, using recent election

      results, a group’s preferred candidate would be elected from a proposed opportunity district. While

      there is no “baseline level at which a district must perform to be considered an ‘opportunity’

      district,” there is a “‘denial of opportunity in the real sense of that term’” if a “cohesive majority

      will ‘often, if not always, prevent’ minority voters from electing the candidate of their choice in

      the purportedly remedial district.” Id. at 133-34 (quoting League of United Latin Am. Citizens v.


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Perry, 548 U.S. 399, 427, 429 (2006)). Accordingly, a performance analysis in this case should

demonstrate that the Black-preferred candidate often would win an election in the subject district,

recognizing that “the ultimate right of § 2 is equality of opportunity, not a guarantee of electoral

success” in every race. Perry, 548 U.S. at 428 (quoting Johnson v. De Grandy, 512 U.S. 997,

1014 n.11(1994)). Further, a voting district with less than a majority of Black voters can be an

effective opportunity district. See, e.g., Rodriguez v. Harris Cnty., Tex., 964 F. Supp. 2d 686, 716-

17 (S.D. Tex. 2013) (describing how voting district with less than a majority of Black voters has

operated as effective opportunity district since 1980), aff'd sub nom. Gonzalez v. Harris Cnty.,

Tex., 601 F. App’x 255 (5th Cir. 2015).

       The Special Master acknowledges, as he did in his initial Report and Recommendation,

that the proposed plans offer a range of performance levels, and that the performance of the Black-

preferred candidate in District 2 is slightly weaker in Remedial Plan 2 than in Remedial Plans 1

and 3, with an average margin of victory across seventeen election contests of +8.2%, compared

to +10.3% for Remedial Plans 1 and 3. See Report and Recommendation, p. 3, Table 4 (District

2). In other words, the District 2 Black-preferred candidate in Remedial Plan 2, on average, would

perform roughly two percentage points below their performance in the other two plans, but still

would be expected to win most election contests.

       That two percentage point difference would have changed the outcome of several 2022

elections in District 2 in Remedial Plan 2, but not in Remedial Plans 1 and 3. Nonetheless, and

considering the points below, the Special Master reaffirms that District 2 in Remedial Plan 2 would

be an effective opportunity district.




                                                 3
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       a.      Voter Turnout

       Statewide voter turnout in the 2022 general election was the lowest in the past 36 years. 5

Table 1 shows the statewide voter turnout in general elections over the past 10 years, together with

the average margin of victory of the Black-preferred candidate among the seventeen analyzed

election contests.6 The performance of the Black-preferred candidate in District 2 in all three

remedial plans appears to correlate positively with voter turnout. 7

                                          Table 1
                                Statewide Voter Turnout and
                            Average Margin of Victory in District 2

 General Election Year                2014           2016         2018         2020          2022

 Voter Turnout                      39.9%         66.8%         49.9%         62.8%         38.6%

 District 2 Performance

 Remedial Plan 1                  +6.47%               --     +15.22%      +14.95%        +0.30%

 Remedial Plan 2                  +4.73%               --     +13.12%      +12.25%         -1.78%

 Remedial Plan 3                  +5.83%               --     +14.93%      +14.75%        +0.93%

       Turnout in 2022 was particularly poor among Democrats, which is relevant because the

Black-preferred candidate was generally the Democrat in these contests. Table 2 shows that while

the number of straight Republican ballots cast in the last two non-presidential general elections



       5
           John Sharp, Alabama’s Midterms Had Lowest Turnout in at Least 36 Years,
Governing.com (Nov. 9, 2022) (https://www.governing.com/now/alabamas-midterms-had-
lowest-turnout-in-at-least-36-years).
       6
          Consistent with the approach taken in the Report and Recommendation, where Dr. Hood
and Dr. Liu assessed the same election contest, the margin of victory from Dr. Hood’s data set was
used to calculate an average. Turnout data comes from the Alabama Secretary of State’s website.
Election Data Downloads, Alabama Secretary of State (https://www.sos.alabama.gov/alabama-
votes/voter/election-data).
       7
         See, e.g., Wright v. Sumter Cnty. Bd. of Elections and Registration, 301 F. Supp. 3d 1297,
1325 (M.D. Ga. 2018) (explaining how turnout affects performance in district), aff’d 979 F.3d
1282 (11th Cir. 2020).

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(2018 and 2022) was virtually unchanged, the number of straight Democrat ballots fell

significantly, supporting the conclusion that Democrats had weaker turnout than Republicans in

2022.8

                                             Table 2
                             Straight Party Ballots Cast (Statewide)

 General Election Year                                    2018              2022            Change

 Straight Republican Ballots Cast                      663,269          648,953              -2.2%

 Straight Democrat Ballots Cast                        462,065          298,434             -54.8%

 Statewide Voter Turnout                                49.9%             38.6%             -29.3%

         At the same time, however, District 2 in Remedial Plan 2 performed well in other non-

presidential election years, including 2014 and 2018 when voter turnout was better than in 2022

but not unusually high. In other words, as long as voter turnout is not exceptionally low, as it was

in 2022, one should expect the Black-preferred candidate to prevail in District 2.

         b.      Candidate Resources

         The lack of competitive Democratic candidates for statewide office likely contributed to

the low voter turnout in 2022. 9 As summarized in Table 3, while the 2018 Democratic nominee

for Governor, Tuscaloosa mayor Walt Maddox, spent $2,570,968 on his challenge to Republican

Governor Kay Ivey,10 the 2022 Democratic nominee, Yolanda Flowers, spent just $12,726 and



         8
                 Election    Data    Downloads,        Alabama           Secretary     of      State
(https://www.sos.alabama.gov/alabama-votes/voter/election-data).
         9
           John Sharp, Alabama’s Midterms Had Lowest Turnout in at Least 36 Years,
Governing.com (Nov. 9, 2022) (https://www.governing.com/now/alabamas-midterms-had-
lowest-turnout-in-at-least-36-years).
         10
           This spending data is taken from expenditure reports for Mr. Maddox’s principal
candidate committee in 2018, through the Secretary of State’s Electronic Fair Campaign Practices
Act (FCPA) Reporting System. Alabama Electronic Fair Campaign Practices Act (FCPA)
Reporting System (https://fcpa.alabamavotes.gov/PublicSite/Homepage.aspx) (taken from search
for expenditures in the 2018 Governor’s race).

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was outspent by Governor Ivey 850:1. 11 The election results corresponded with this spending

disparity.

                                        Table 3
             Performance and Funding of Democratic Candidates for Governor

 General Election Year                                                      2018              2022

 Campaign Spending                                                    $2,570,968           $12,726

 Statewide Margin of Victory (or Defeat)                                  -19.1%            -37.7%

 Remedial Plan 2, District 2 Margin of Victory (or Defeat)               +11.2%              -4.7%

        A local candidate for Congress with a competitive chance to win an election can be

expected to attract more resources locally and nationally and encourage better turnout, performing

better than an underfunded statewide candidate who is not expected to win against a popular

incumbent. Indeed, both the Republican and Democratic national congressional committees put

significant resources into the most competitive races. 12

        c.     Biracial Elections

        The Special Master used seventeen total election contests from Drs. Hood and Liu for his

election performance analysis. Dr. Liu’s set of elections is limited to eleven biracial election

contests in which the Black-preferred candidate is Black. The parties took different positions on

the probative value of biracial elections versus non-biracial elections (in which the Black-preferred

candidate is white) in the liability phase of these proceedings. See, e.g., Singleton v. Merrill, 582



        11
             See Alabama Electronic Fair Campaign Practices Act (FCPA) Reporting System
(https://fcpa.alabamavotes.gov/PublicSite/Homepage.aspx) (taken from search for expenditures in
the 2022 Governor’s race); see also Singleton Plaintiffs’ Proposed Plan (Doc. # 5), at 11.
        12
            DCCC Announces 2023-2024 Districts In Plan, DCCC (Apr. 3, 2023)
(https://dccc.org/dccc-announces-2023-2024-districts-in-play/) and RNCC Announces 37
Offensive Pick-Up Opportunities to Grow GOP House Majority, RNCC (Mar. 13, 2023)
(https://www.nrcc.org/2023/03/13/nrcc-announces-37-offensive-pick-up-opportunities-to-grow-
gop-house-majority/).

                                                  6
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F. Supp. 3d 924, 967 (N.D. Ala. 2022) (explaining that Dr. Liu examined biracial endogenous

elections “based on case law indicating that evidence about biracial elections and endogenous

elections is more probative of racially polarized voting than is evidence about other kinds of

elections”).

       In the remedial phase, however, the issue is moot, for analyses of both the set of eleven

biracial elections and the larger set of seventeen elections reach the same conclusion: as

summarized in Table 4, the Black-preferred candidate wins the majority of contests over the past

decade, while closely losing the 2022 contests.

                                          Table 4
                          Performance of Remedial Plan 2 District 2
                              (with Average Margin of Victory)

 Election Contest Set                                   2014-2022              2022 Only

 Eleven Biracial Election Contests                         7 of 11               1 of 5
                                                      (+4.6% average)       (-1.7% average)

 Seventeen Election Contests                              13 of 17               1 of 5
                                                      (+8.2% average)       (-1.7% average)

       d.      Recency of Elections

       The 2022 general election is the most recent general election available for a performance

analysis. All other things being equal, a more recent election should be more probative than an

older election.13 As explained above, however, the circumstances surrounding these elections are

not equal. A less competitive slate of Democratic nominees for statewide office in 2022, who



       13
          See, e.g., Alabama State Conference of NAACP v. Alabama, 612 F. Supp. 3d 1232, 1274
(M.D. Ala. 2020) (explaining that “the probativeness of an election in the § 2 analysis is highly
dependent upon the individual facts and the nature of the local electorate” and therefore “a court
may assign more probative value to elections that include minority candidates, than elections with
only white candidates; it may consider endogenous elections more important than exogenous
elections; or it may conclude that recent elections are more probative than those which occurred
long before the litigation began”) (emphasis added) (quoting Solomon v. Liberty Cnty. Com’rs,
221 F.3d 1218, 1227 (11th Cir. 2000)).

                                                  7
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       were dramatically underfunded, contributed to depressed voter turnout, particularly among

       Democrats, thus tipping the balance of those candidates in District 2.

              In fact, 2022 is the only general election analyzed in which a Black-preferred candidate

       would have lost District 2 in Remedial Plan 2. Even in 2014, which was the lowest statewide

       turnout since 1986 until the 2022 election, 14 the Black-preferred candidate won all three biracial

       election contests in District 2 in Remedial Plan 2. In 2018, when voter turnout reached almost

       50%—although still below presidential election-year turnout percentages—the Black-preferred

       candidate won District 2 handily.      This supports the conclusion that 2022 was an historic

       aberration.

III.          CONCLUSION

              As detailed above, while performance numbers vary across the three proposals—a factor

       to consider in comparing the plans to one another—each of the three remedial plans proposed by

       the Special Master, including Remedial Plan 2, creates “an additional district in which Black voters

       have an opportunity to elect a representative of their choice,” and each would therefore remedy

       the likely Section Two violation the Court identified. SM Order at 7.


              SUBMITTED this 2nd day of October, 2023.


                                                     /s/ Richard F. Allen
                                                     RICHARD F. ALLEN
                                                     SPECIAL MASTER




              14
                   John Sharp, Alabama’s Midterms Had Lowest Turnout in at Least 36 Years,
       Governing.com (Nov. 9, 2022) (https://www.governing.com/now/alabamas-midterms-had-
       lowest-turnout-in-at-least-36-years).

                                                        8
